Case 8:22-cr-00296-WFJ-NHA Document 111 Filed 12/02/24 Page 1 of 1 PagelD 350

U.S. Department of Justice
United States Marshals Service

PROCESS RECEIPT AND RETURN

See "Instructions for Service of Process by U.S. Marshal"

PLAINTIFF COURT CASE NUMBER
UNITED STATES OF AMERICA 8:22-CR-296-WFJ-NHA
DEFENDANT

STEPHEN SHERLOCK

TYPE OF PROCESS
Execution of FOF

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TOS

SERVE
AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Cede)

| RECEIVED

By USMS M/FL at 2:02 pm, Nov 18, 2024

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be

James A. Muench, AUSA

U.S. Attorney's Office

400 North Tampa Street, Suite 3200
Tampa, FL 33602

served with this Form 285

Number of parties to be
served in this case

Check for service
onUS.A

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):

Pursuant to the Judgment and Final Order of Forfeiture, please deposit the $2,300 in U.S. currency into the AFF.

CATS ID: 20-FBI-008419

Signature of Attorney other Origipator requesting service on behalf of

[x] PLAINTIFF
[] DEFENDANT

TELEPHONE NUMBER DATE

I Slee

(813) 274-6000

f BPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

I acknowledge receipt for the total District of
number of process indicated Origin
(Sign only for USM 285 if more 1 ‘4 4 8
than one USM 285 is submitted) oe

District to
Serve

No

Total Process

18 DENIS FAHIE (Affiliate) (affiliate)

Signature of Authorized USMS Deputy or Clerk Date

Digitally signed by DENIS FAHIE

11/18/2024

Date: 2024.11.18 14:04:44 -05'00'

I hereby certify and retum that | [[Vhave personally served , [] have legal evidence of service, []_ have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc, at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below

(C) [hereby certify and return that | am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (ifnor shown above)

Date Time

Uf2v/20r4

Address (complete onty different than shown above)

Signature of U.S. Marshal or Deputy

Stu S- Lip

Costs shown on attached USMS Cost Sheet >>

REMARKS

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Usc in KS

wles/ zazHd,

NS

Form USM-285
Rev. 03/21

